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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

CHRISTOPHER DANUSIAR                                 ) Case Number 1:20-cv-1477
     Plaintiff,                                      )
v.                                                   )
                                                     )
                                                     )
Auditchain USA, Inc., a Delaware                     )
corporation, Matreya.io, LLC a Delaware              )
limited liability corporation, and                   )
Jason M. Meyers, individually                        ) Jury Trial Demanded
        Defendants.                                  )

                                          COMPLAINT

   1.          Plaintiff Christopher Danusiar files this lawsuit against his former employers,

Auditchain USA, Inc. (“Auditchain”), Matreya.io, LLC (“Matreya”) (Auditchain and Matreya

hereinafter referred to interchangeably as the “Company”) and individually against Jason M.

Meyers (collectively “Defendants”). Mr. Meyers hired Mr. Danusiar as the Director and Chief

Executive Officer of the Company, and his employment was governed by the terms of his

Employment Agreement. Defendants breached the Employment Agreement by failing to pay Mr.

Danusiar his earned compensation and other amounts owed under the Employment Agreement.

Such misconduct violates the Illinois Wage Payment and Collection Act (“IWPCA”), 820 ILCS §

115 et. seq., the New York Labor Law (“NY Labor Law”), N.Y. Labor Law § 190 et seq., and

constitutes claims for breach of contract, and breach of the implied covenant of good-faith and fair

dealing.

                                         THE PARTIES

   2.          Christopher Danusiar is, and at all times relevant to this Complaint was, a resident

of Illinois. Mr. Danusiar lives in Wheaton, Illinois and pays Illinois income taxes.
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   3.          Auditchain USA, Inc. is a Delaware corporation that does, and at all times relevant

to this Complaint did, conduct business in New York City, New York. Auditchain USA, Inc.

executed the Employment Agreement.

   4.          Matreya.io, LLC is Delaware limited liability corporation that does, and at all times

relevant to this Complaint did, conduct business in New York City, New York. Matreya.io, LLC

paid Mr. Danusiar’s wages owed under the Employment Agreement during his employment. Mr.

Meyers developed the services to be sold through Auditchain USA, Inc. under Matreya.io, LLC

and hired Mr. Danusiar to provide services for both companies.

   5.          Mr. Meyers is an executive, owner, and founder of, and exclusive decision-maker

for, Auditchain USA, Inc., and Matreya.io, LLC. Mr. Meyers is domiciled in New York.

   6.          Defendants have an office in, do business in, and operate in New York City, New

York. Plaintiff performed work for Defendants out of Defendants’ office in New York City, New

York during his employment with Defendants.

                                VENUE AND JURISDICTION

   7.          Plaintiff brings his Complaint under federal diversity jurisdiction, 28 U.S.C. 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds $75,000.

   8.          Venue is proper in the Southern District of New York because Defendants operate

out of New York City, New York and operated out of New York City, New York at all times

relevant to this Complaint, and Defendants’ misconduct alleged in the Complaint occurred in New

York City, New York.

                                 FACTUAL BACKGROUND

   9.          Defendants failed to pay Mr. Danusiar all of his earned wages under the

Employment Agreement, including his salary, his bonus payment, and his separation pay.



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Defendants also failed to reimburse Mr. Danusiar for all business expenses he incurred on

Defendants’ behalf. And Defendants misclassified Mr. Danusiar and owe him additional money

for employment taxes Defendants failed to withhold.

   10.        Mr. Meyers developed the idea for a decentralized continuous audit and reporting

protocol ecosystem through Matreya.io LLC, which is now branded and communicated as

Auditchain USA, Inc.

   11.        Mr. Meyers met Mr. Danusiar in early 2018. Mr. Meyers began recruiting Mr.

Danusiar to provide services for Matreya and Auditchain when he learned of Mr. Danusiar’s

extensive background in assurance and accounting technology.

   12.        Mr. Danusiar is a highly-regarded business, technology, and global transformation

leader with over thirty years of relevant experience that helped further Mr. Meyers’s blockchain

ecosystem concept.

   13.        When Mr. Meyers recruited him, Mr. Danusiar was working for Ernst & Young

(“EY”) as a Deputy Technology Officer.

   14.        At the time he left his employment with EY on September 4, 2018, EY was paying

Mr. Danusiar an annual salary of $405,000 plus an annual bonus equal to approximately $45,000.

   15.        When Mr. Meyers first reached out to Mr. Danusiar, Mr. Danusiar expressed that

he was content in his role with EY.

   16.        However, Mr. Meyers continued to recruit Mr. Danusiar through early August,

offering him the role of Auditchain’s Chief Executive Officer because, as Mr. Meyers stated, the

Company had significant growth potential, substantial funding, and needed a “professional and

well-respected CEO.”




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   17.         Mr. Danusiar finally accepted Mr. Meyers’s offer. However, Mr. Danusiar’s

acceptance was based upon false and incomplete information because he later discovered that Mr.

Meyers misrepresented and concealed material information related to the Company’s funding,

revenue potential, and ability to pay him the compensation he was promised in the Employment

Agreement. Mr. Danusiar could not have discovered the false information even with due diligence.

   18.         Auditchain was incorporated in Delaware on May 11, 2018, although all of

Auditchain’s assets remain with Matreya.

   19.         Mr. Meyers hired Mr. Danusiar to assist with the transition from Matreya to

Auditchain with the understanding the Mr. Danusiar would be providing services for both

companies.

   20.         Mr. Danusiar’s title was Director and Chief Executive Officer and his employment

was effective on September 5, 2018.

   21.         Mr. Danusiar was heavily involved in the drafting and review of all relevant

documents to transition all assets and intellectual property related to the decentralized continuous

audit and reporting protocol ecosystem from Matreya to Auditchain.

   22.         All work Mr. Danusiar performed for Matreya was simultaneously performed for

Auditchain, and vice versa.

   23.         Mr. Danusiar’s employment was governed by a Term Sheet—which Mr. Meyers

titled the “Employment Agreement.” A true and accurate copy of the fully executed term sheet is

attached hereto as Exhibit A.

   24.         Page 1 of the Term Sheet (the “Employment Agreement”) states: “The parties agree

to negotiate in good faith such definitive documentation containing terms consistent with the

provisions set forth herein as soon as reasonably practicable after the date hereof; provided,



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however, that if such agreements are not entered into between the parties this Term Sheet shall

continue in full force and effect.”

   25.          Mr. Danusiar and Mr. Meyers executed the Employment Agreement on August 17,

2018.

   26.          Mr. Danusiar’s responsibilities, as set forth in the Employment Agreement, were to

“oversee the day to day activities of all operations of the Company and have the duties, authorities

and responsibilities of persons in similar capacities in similarly sized companies.”

   27.          During his employment, Mr. Danusiar tirelessly performed the duties expected of

a Director and Chief Executive Officer, working long hours and carrying out all tasks required of

him.

   28.          The Employment Agreement permitted Mr. Danusiar to “work remotely or from

any Auditchain office location as desired.”

   29.          Mr. Danusiar performed his duties from the Company’s office in New York City,

New York or remotely from his home in Wheaton, Illinois.

   30.          Mr. Danusiar believed in, and was dedicated to, the vision Mr. Meyers had for the

Company. However, he quickly learned that he and others were misled about the funding and

future of Auditchain.

   31.          Upon information and belief, Mr. Meyers exaggerated the Company’s value by

multiple millions of dollars when communicating with investors.

   32.          On or around March 6, 2018, Mr. Danusiar learned that Mr. Meyers may have

extended Simple Agreements for Future Token (“SAFT”) to United States citizens in violation of

federal laws.




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   33.        Mr. Meyers had assured Mr. Danusiar multiple times that Auditchain intended to

engage only with third parties who were able to comply with KYC (“Know Your Customer”) and

AML (“Anti-Money Laundering”) requirements.

   34.        This new information regarding the unlawful SAFTs was therefore contrary to

every representation Mr. Meyers made to Mr. Danusiar regarding the Auditchain SAFTs, ICO or

TGE.

   35.        Upon information and belief, Mr. Meyers is also using significant amounts

collected from Auditchain investors for personal use and to fund apartments in SoHo, New York,

and Zug, Switzerland based on the discrepancy in amounts Mr. Meyers collected from investors,

on the one hand, and amounts recorded in accounting statements for Auditchain or Matreya, on

the other hand, of approximately One Million to One Million Five Hundred Thousand Dollars.

   36.        By the time Mr. Danusiar learned of Mr. Meyers’s unlawful conduct, Mr. Meyers

had stopped paying Mr. Danusiar’s salary in violation of the terms of the Employment Agreement

and applicable wage laws.

   37.        The lack of transparency and apparent impropriety, in conjunction with the

Company’s ongoing breach of his Employment Agreement, led Mr. Danusiar to terminate his

employment for Good Reason effective March 20, 2019.

   38.        Mr. Danusiar provided Mr. Meyers, Ben Panter, Edward Little, and Michael Di

Giovanna with his Notice of Termination for Good Reason (“Notice”) on February 18, 2019.

   39.        Mr. Danusiar stated that the Company was in continuous material breach of the

Employment Agreement and was engaged in acts that gave rise to a Good Reason event.




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   40.        Mr. Danusiar further stated, in compliance with the notice requirements set forth in

the Employment Agreement, that he was terminating his employment for Good Reason “if the

Company [did] not fully cure all circumstances.”

   41.        Upon learning of Mr. Meyers’ potentially unlawful conduct, Mr. Danusiar

accelerated his Termination for Good Leave to be effective on March 8, 2019.

   42.        Mr. Danusiar made a report about Mr. Meyers’s conduct to the United States

Securities and Exchange Commission on May 7, 2019 upon learning that he could make a

whistleblower tip.

   43.        The Company did not cure or even attempt to cure its continuing breach upon

receipt of Mr. Danusiar’s Notice of Termination for Good Reason.

   44.        Under the Employment Agreement, Mr. Danusiar’s salary was contracted to be

$225,000 from September 2018 to September 2019 and $325,000 or more every year thereafter.

   45.        Mr. Danusiar received payments from Matreya for his first three months of his

employment.

   46.        After the first three months of his employment, the Company subsequently failed

to pay him any wages.

   47.        The Company owes Mr. Danusiar wages for more than three months during which

he worked and earned his salary under the terms of the Employment Agreement.

   48.        The Company also owes Mr. Danusiar reimbursements for business expenses equal

to approximately $16,500, which he paid out-of-pocket.

   49.        The Company further misclassified Mr. Danusiar as an independent contractor in

violation of the Internal Revenue Code and paid him with IRS Form-1099 wages.




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    50.         In addition to his unpaid salary and reimbursement for his incurred expenses, the

Company owes Mr. Danusiar other substantial compensation pursuant to the terms of the

Employment Agreement.

    51.         The Employment Agreement states that if Mr. Danusiar’s employment is

terminated for Good Reason within 120 days of the TGE (via ICO or IEO) of the Auditchain

AUDT token, he is entitled to a bonus equal to a minimum of $100,000.

    52.         Mr. Danusiar is entitled to the $100,000 bonus because the AUDT TGE occurred

on June 14, 2019, which was within the 120-day period.

    53.         Under the Employment Agreement, Mr. Danusiar is also entitled to Termination

for Good Reason fees in “an aggregate amount equal to the base salary that would have been paid

to [him] had his employment continued under the terms of [the Employment Agreement] for one

year following the date of termination (taking into account the mandatory increase upon the first

anniversary of [his] start date).”

    54.         Mr. Danusiar is therefore owed Termination for Good Reason fees equal to

approximately $114,657.84 for work performed from March 9, 2019 through his first anniversary,

September 4, 2019, and $175,493.39 for work performed from September 4, 2019 through March

9, 2020 — a total amount equal to $290,151.23.

    55.         On March 21, 2019, Mr. Danusiar sent the Company an invoice for the total

amounts owed.

    56.         To date, the Company has not paid Mr. Danusiar any of his unpaid wages, his

Termination for Good Reason fees, his AUDT TGE bonus, or reimbursed any of his incurred

expenses.




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    57.         Under the terms of the Employment Agreement, Mr. Danusiar was also promised

up to 2,000,000 AUDT tokens, which at the IEO were priced at Twenty Cents ($0.20) per AUDT

token, and an option to own Ten Percent (10%) of Auditchain USA, Inc. for a payment of One

Hundred Dollars ($100).

    58.         Mr. Danusiar further seeks approximately $15,000 for employment taxes not

withheld by the Company in violation of the Internal Revenue Code.

                                   COUNT I
          VIOLATIONS OF ILLINOIS WAGE PAYMENT AND COLLECTION ACT
                          (AGAINST ALL DEFENDANTS)

    59.         Plaintiff reincorporates and re-alleges the allegations in paragraphs 1 through 57 as

if fully set forth herein.

    60.         At all relevant times for this Complaint, the IWPCA was in effect.

    61.         At all relevant times for this Complaint, Plaintiff was performing services for the

Company and paying employment taxes in Illinois.

    62.         Plaintiff was employed by Defendants during the relevant time period.

    63.         Section 3 of the IWPCA provides that Defendants must pay Plaintiff his wages at

least semi-monthly: “Every employer shall be required, at least semi-monthly, to pay every

employee all wages earned during the semi-monthly pay period.” See 820 ILCS § 115/3.

    64.         The IWPCA further mandates that Defendants pay Plaintiff all compensation under

the terms of the Parties’ agreement.

    65.         Section 13 of the IWPCA imposes personal liability on Mr. Meyers as an officer

and agent of the Company: “[A]ny officers of a corporation or agents of an employer who

knowingly violate the provisions of this Act shall be deemed to be the employers of the employees

of the corporation.” 820 ILCS § 115/13.



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   66.         Mr. Meyers is individually liable because he knowingly permitted violations of the

IWPCA to occur.

   67.         Defendants failed to pay Plaintiff his earned compensation, due and owing.

   68.         Based on the foregoing, Defendants violated the IWPCA.

   69.         As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff suffered

and continues to suffer lost wages and other damages.

   70.          Defendants are subject to a two percent (2%) interest per month penalty, as well as

attorneys’ fees and costs expended in pursuit of the unpaid compensation owed, for violations of

the IWPCA. 820 ILCS 115/14(a).

                                    PRAYER FOR RELIEF

   71.     WHEREFORE, Plaintiff prays that this Court enter judgment in his favor and against

Defendants as follows:

               A.      That a finding be entered that Defendants violated the IWPCA;

               B.      That Plaintiff be awarded compensatory damages to account for his lost

income and unreimbursed business expenses;

               C.      That Plaintiff be awarded statutory damages of two percent (2%) of the

amount of any such underpayments for each month following the date of payment during which

such underpayments remained unpaid;

               D.      That Plaintiff be awarded interest on all amounts awarded;

               E.      That Plaintiff be awarded his costs of maintaining this action, including

reasonable attorneys’ fees, together with all costs and expenses of suit; and

               F.      That Plaintiff be awarded any and all other forms of relief this Honorable

Court deems just and appropriate.



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                                     COUNT II
                          IN THE ALTERNATIVE TO COUNT I
                      VIOLATIONS OF THE NEW YORK LABOR LAW
                             (AGAINST ALL DEFENDANTS)

    72.         Plaintiff reincorporates and re-alleges the allegations in paragraphs 1 through 57 as

if fully set forth herein.

    73.         At all relevant times for this Complaint, the NY Labor Law was in effect.

    74.         Plaintiff’s Employment Agreement states that the laws of the State of New York

are applicable to this matter.

    75.         Plaintiff was employed by Defendants during the relevant time period.

    76.         The New York Labor Law requires Defendants to pay Plaintiff his wages “not later

than the regular pay day for the pay period during which termination occurred” upon termination

of Plaintiff’s employment. N.Y. Lab. Law § 191(3).

    77.         Defendants did not pay Plaintiff any of his earned and unpaid compensation upon

termination of his employment.

    78.         The New York Labor Law imposes personal liability on Mr. Meyers, defining

“employer” as “any person, corporation, limited liability corporation . . .” (emphasis added). N.Y.

Lab. Law § 190(3).

    79.         Mr. Meyers is individually liable because he knowingly permitted violations of the

New York Labor Law to occur.

    80.         Defendants failed to pay Plaintiff his earned compensation.

    81.         Based on the foregoing, Defendants violated the New York Labor Law.

    82.         As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff suffered

and continues to suffer lost wages and other damages.




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    83.         Defendants may be subject to liquidated damages equal to one hundred percent

(100%) of wages owed, prejudgment interest, as well as attorneys’ fees and costs expended in

pursuit of the unpaid compensation owed. N.Y. Lab. Law § 198(1-a).

                                        PRAYER FOR RELIEF

    84.     WHEREFORE, Plaintiff prays that this Court enter judgment in his favor and against

Defendants as follows:

             A. That a finding be entered that Defendants violated the New York Labor Law;

             B. That Plaintiff be awarded compensatory damages to account for his lost income

and unreimbursed business expenses;

             C. That Plaintiff be awarded liquidated damages equal to one hundred percent (100%)

of the amount of any wages found to be due;

             D. That Plaintiff be awarded interest on all amounts awarded;

             E. That Plaintiff be awarded his costs of maintaining this action, including reasonable

attorneys’ fees, together with all costs and expenses of suit; and

             F. That Plaintiff be awarded any and all other forms of relief this Honorable Court

deems just and appropriate.

                                         COUNT III
                                    BREACH OF CONTRACT
                                 (AGAINST ALL DEFENDANTS)

    85.         Plaintiff reincorporates and re-alleges the allegations in paragraphs 1 through 83 as

if fully set forth in this paragraph.

    86.         Under the executed Employment Agreement, Plaintiff is entitled to $290,151.23

for Termination for Good Reason fees, $100,000 for the AUDT TGE bonus, $72,914.29 for unpaid




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wages and reimbursement for business expenses incurred, and approximately $15,000 for

employment taxes not withheld by the Company in violation of the Internal Revenue Code.

    87.         Plaintiff fully performed his duties and obligations under the terms of the

Employment Agreement.

    88.         Defendants have failed to pay Plaintiff his promised amounts under the

Employment Agreement.

    89.         As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial economic harm and other damages.

                                        PRAYER FOR RELIEF

    90.         WHEREFORE Plaintiff prays for judgment in his favor and against Defendants,

and for the following relief:

                A.      That a finding be entered that Defendants breached the Employment

Agreement;

                B.      That Plaintiff be awarded damages in an amount equal to the unpaid

amounts due and owing;

                C.      That Plaintiff be awarded his costs of maintaining this action, including

reasonable attorneys’ fees, together with all costs and expenses of suit; and

                D.      That Plaintiff be awarded such other and further relief as this Honorable

Court deems necessary.

                                       COUNT IV
                           BREACH OF THE IMPLIED COVENANT
                            OF GOOD FAITH AND FAIR DEALING
                               (AGAINST ALL DEFENDANTS)

    91.         Plaintiff reincorporates and re-alleges the allegations in paragraphs 1 through 89 as

if fully set forth in this paragraph.

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   92.         The covenant of good faith and fair dealing is implied in, and central to, every

contract.

   93.         Under the Employment Agreement, Plaintiff is entitled to $290,151.23 for

Termination for Good Reason fees, $100,000 for the AUDT TGE bonus, $72,914.29 for unpaid

wages and business expenses incurred, and approximately $15,000 for employment taxes not

withheld by the Company in violation of the Internal Revenue Code.

   94.         Defendants reaped the benefits of Plaintiff’s work and have intentionally acted in a

manner to deprive Plaintiff of his right to receive benefits under his Employment Agreement.

   95.         Defendants have failed to pay Plaintiff amounts owed under the Employment

Agreement and have dismissed all of Plaintiff’s attempts to request his earned compensation.

   96.         Defendants intended to induce Plaintiff to provide services for Matreya and

Auditchain by promising the amounts in the Employment Agreement and now attempt to allege

that Plaintiff is not entitled to such amounts.

   97.         Defendants’ conduct was carried out in bad faith and with improper motive.

   98.         Defendants’ attempt to evade payment pursuant to the terms of the fully executed

Employment Agreement, and after Plaintiff contributed substantial value to the Company in his

role, is a breach of the implied covenant of good faith and fair dealing.

   99.         As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered and continues to suffer economic harm and other damages.

                                     PRAYER FOR RELIEF

   100.                WHEREFORE Plaintiff prays for judgment in his favor and against

Defendants, and for the following relief:




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               A.        That a finding be entered that Defendants breached the implied covenant of

good faith and fair dealing;

               B.        That Plaintiff be awarded damages in an amount equal to the unpaid

amounts due and owing;

               C.        That Plaintiff be awarded his costs of maintaining this action, including

reasonable attorneys’ fees, together with all costs and expenses of suit; and

               D.        That Plaintiff be awarded such other and further relief as this Honorable

Court deems necessary.

                                   DEMAND FOR JURY TRIAL

   101.              Plaintiff hereby respectfully demands a trial by jury of the allegations contained

in this Complaint.

Dated: February 18, 2020

                                                Respectfully submitted,

                                                By:     /s/ Tristan Loanzon
                                                        One of the Plaintiff’s Attorneys

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                   Exhibit A
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4 September 2018

VIA EMAIL

Mr. Chris Danusiar
917 North Cross Street
Wheaton, IL 60187

Re:    Confidential Term Sheet

Dear Chris,

This letter and the enclosed summarized terms (together referred to as “Term Sheet”) is intended to
summarize the terms of an employment agreement (“Employment Agreement”) between you and
Auditchain USA, Inc., a Delaware corporation (“Auditchain” or the “Company”). Chris Danusiar and
Auditchain are each a “Party”, both referred to as the “Parties”.

This Term Sheet represents a legally binding agreement between the parties hereto regarding the
principal terms of Executive’s employment and compensation with the Company, which will be
evidenced by definitive agreements, including an Employment Agreement. The terms and conditions
of the definitive agreements shall be consistent with the terms and conditions set forth herein. The
parties agree to negotiate in good faith such definitive documentation containing terms consistent
with the provisions set forth herein as soon as reasonably practicable after the date hereof; provided,
however, that if such agreements are not entered into between the parties this Term Sheet shall
continue in full force and effect.

                    SUMMARY TERMS OF EMPLOYMENT AGREEMENT


 Objective             Chris Danusiar, herein referred to as “Executive” shall serve in the
                       capacity as a Director and the Chief Executive Officer for Auditchain
                       as summarized herein.

 Responsibilities      Executive shall serve as Chief Executive Officer to Auditchain and
                       serve as a member of the board of directors (“Board”). Executive
                       shall oversee the day to day activities of all operations of the
                       Company and have the duties, authorities and responsibilities of
                       persons in similar capacities in similarly sized companies. Such
                       activities shall include overseeing the development of Decentralized
                       Continuous Audit & Reporting Protocol EcosystemTM, the
                       Company’s decentralized assurance and reporting product in
                       development as well as guiding the Company’s overall strategic
                       plans. Executive shall work regularly with the Auditchain team at
                       their physical office location(s), but can work remotely or from any
                       Auditchain office location as desired. Executive shall report directly
                       to the Board and all employees of the Company shall report directly
                       to Executive (or his designee).



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                   The Company (and its shareholders) shall take such action as may be
                   necessary to appoint or elect Executive as a member of the Board as
                   of the date of Executive’s commencement of employment.

 Term              The term of the Employment Agreement shall continue for an initial
                   period of two (2) years, (the “Initial Term”). The Employment
                   Agreement may be mutually extended by the Parties for additional
                   periods of time on mutually satisfactory terms. If Executive’s
                   employment continues beyond the Initial Term and the parties have
                   not negotiated an extension, the terms of this Term Sheet (or the
                   definitive Employment Agreement) shall continue to control unless
                   and until a successor agreement has been executed.

 Exclusivity       Executive shall devote his full time, attention and efforts to the
                   Company; provided that nothing herein shall prevent Executive from
                   (i) serving on the boards of directors of non-profit organizations, (ii)
                   with the consent of the Board (not to be unreasonably withheld,
                   delayed or conditioned), serving on the boards of directors of for-
                   profit companies, (iii) participating in charitable, civic, educational,
                   professional, community or industry affairs, and (iv) managing
                   Executive’s personal investments.

 Compensation      During the Initial Term, Executive shall be paid a cash salary equal
                   to : (i) no less than $225,000 during the first year following the date
                   of Executive’s commencement of employment and (ii) no less than
                   $325,000 thereafter (“Salary”). Salary payments shall be made in
                   monthly installments on the first day of each month.

                   The Company plans to conduct a token generation event (“TGE”)
                   within 90 days from the date of this letter. Upon the closing of the
                   TGE, Executive shall be paid a bonus equal to $100,000 (the “TGE
                   Bonus”); provided that the TGE Bonus shall equal $200,000 in the
                   event the gross aggregate proceeds generated from, or arising with
                   respect to, the TGE equal or exceed $5 Million. An additional bonus
                   equal to $200,000 shall be paid upon the commercial launch of the
                   Auditchain blockchain. Executive shall be entitled to the bonuses
                   specified in this paragraph if Executive is providing any services to
                   the Company (whether as a member of the Board, a consultant or
                   otherwise) as of the date of consummation of the TGE or the
                   commercial launch of the Auditchain blockchain, respectively.
                   Further, in the event Executive’s employment or service is
                   terminated by the Company without Cause or by Executive with
                   Good Reason upon or with the 120 day period immediately
                   preceding the date of consummation of the TGE or the commercial
                   launch of the Auditchain blockchain, Executive shall be deemed




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                             employed as of the date of such event(s) and entitled to the applicable
                             bonus(es) specified herein.

                             Executive will be entitled to participate in all employee and fringe
                             benefit plans generally available to executives and employees of the
                             Company.

                             Executive will be reimbursed for customary business expenses.

                             Executive shall be entitled to 2,000,000 AUDT tokens (“AUDT”).
                             The Tokens shall vest in the following manner; (i) 500,000 equally
                             on a per block basis over the one year period commencing from the
                             date of the TGE, (ii) 500,000 shall vest immediately upon the date of
                             the commercial release of the genesis block of the Auditchain
                             blockchain (“Genesis Block”) , (iii) 500,000 shall vest immediately
                             upon the date of achievement of the first commercial customer and
                             (iv) 500,000 shall vest immediately upon the achievement of an
                             aggregate of $[5,000,000] 1 in revenue within any rolling 12 month
                             period, excluding revenue generated directly from the TGE.
                             Executive shall be entitled to the vesting specified in this paragraph
                             if Executive is providing any services to the Company (whether as
                             an employee, member of the Board, consultant or otherwise) as of
                             the date of achievement of the stated milestone, respectively.
                             Further, in the event Executive’s employment or service is
                             terminated by the Company without Cause or by Executive with
                             Good Reason upon or with the 120 day period immediately
                             preceding the date of achievement of a milestone, Executive shall be
                             deemed employed as of the date of such event(s) and entitled to the
                             applicable vesting specified herein.

                             Executive shall be issued a non-qualified option to purchase 10% of
                             the outstanding shares of common stock of Auditchain, calculated on
                             a fully diluted basis as of the date of this Term Sheet (“Option”). The
                             Option shall (a) have an aggregate exercise price of $[100], 2 (b)
                             expire ten (10) years following the date of grant, (c) vest in full upon
                             the earlier of the commercial release of the Genesis Block and a sale
                             of more than 50% of the equity or assets of the Company, and (d) be
                             exercisable at any time prior to expiration. Executive will have the
                             right to “net exercise” the Option that will allow Executive to use
                             shares issuable upon exercise to cover the applicable exercise price
                             and any required tax withholding. Executive shall be entitled to the
                             vesting specified in this paragraph if Executive is providing any
                             services to the Company (whether as an employee, member of the
                             Board, consultant or otherwise) as of the date of commercial release

1
    Confirm expected timeline to achieve this financial hurdle.
2
    Confirm current FMV.



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                   of the Genesis Block. Further, in the event Executive’s employment
                   or service is terminated by the Company without Cause or by
                   Executive with Good Reason upon or with the 120 day period
                   immediately preceding the date of commercial release of the Genesis
                   Block, Executive shall be deemed employed as of the date of such
                   event and entitled to the vesting specified herein.

 Termination       In the event of Executive’s termination of employment for any
                   reason, Executive will be entitled to receive (i) any unpaid base
                   salary through the date of termination, (ii) any bonus earned but
                   unpaid with respect to a performance period (or event) ending on or
                   preceding the date of termination, payable at the same time as it
                   would have been paid had Executive not undergone a termination of
                   employment, (iii) reimbursement for any unreimbursed business
                   expenses incurred through the date of termination, (iv) any accrued
                   but unused vacation time, and (v) all other payments or benefits to
                   which Executive is entitled under the terms of this Term Sheet and
                   any applicable compensation or equity arrangement or employee
                   benefit plan or program of the Company (collectively, the “Accrued
                   Benefits”).

                   In addition, in the event of Executive’s termination of employment
                   from the Company by the Company without Cause or by Executive
                   for Good Reason, in addition to the Accrued Benefits, the Company
                   will pay or provide Executive with (i) an aggregate amount equal to
                   the base salary that would have been paid to Executive had his
                   employment continued under the terms of this Term Sheet for one
                   year following the date of termination (taking into account the
                   mandatory increase upon the first anniversary of Executive’s start
                   date), payable in a single lump sum within 10 days following the date
                   of termination and (ii) continued participation in the Company’s
                   health, dental and benefit plans for a period of one year following the
                   date of termination of employment. In no event will Executive be
                   obligated to seek other employment or take any other action by way
                   of mitigation of the amounts payable to Executive under any of the
                   provisions of this Term Sheet.

                   For purposes hereof, “Cause” means (i) Executive’s willful
                   misconduct or gross negligence in the performance of Executive’s
                   duties to the Company that has a material adverse effect on the
                   Company; (ii) Executive’s conviction of, or pleading of guilty or
                   nolo contendere to, a felony; (iii) Executive’s willful performance of
                   any material act of embezzlement or fraud against the Company; or
                   (iv) Executive’s willful, material breach of this Term Sheet. Any
                   determination of Cause by the Company will be made by a resolution
                   approved by a majority of the members of the Board, provided that
                   no such determination may be made until Executive has been given



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                   written notice detailing the specific Cause event and a period of 30
                   days following receipt of such notice to cure such event. For
                   purposes hereof, an act, or a failure to act, shall not be deemed willful
                   or intentional, unless it is done, or omitted to be done, by Executive
                   in bad faith or without a reasonable belief that Executive’s action or
                   omission was in the best interest of the Company.

                   For purposes hereof, “Good Reason” means, unless otherwise agreed
                   to in writing by Executive, (i) any diminution or adverse change in
                   Executive’s titles, duties, responsibilities or authorities; (ii) a
                   reduction in Executive’s Base Salary, bonus opportunities or equity-
                   based compensation; (iii) a permanent relocation of Executive’s
                   primary place of employment by more than 25 miles; (iv)
                   Executive’s removal from the Board (or the Company’s failure to
                   appoint or elect Executive to the Board); or (v) any material breach
                   by the Company of the terms of this Term Sheet (including any
                   breach of the provisions set forth in the “Indemnification and
                   Insurance” section set forth below) or any other agreement between
                   Executive and the Company. In order to invoke a termination for
                   Good Reason, (A) Executive must provide written notice within 90
                   days of the occurrence of any event of “Good Reason,” (B) the
                   Company must fail to cure such event within 30 days of the giving
                   of such notice and (C) Executive must terminate employment within
                   30 days following the expiration of the Company’s cure period.

 Non-Competition   Executive shall not compete directly with the business of Auditchain,
                   namely the development and deployment of a decentralized
                   continuous audit and reporting protocol ecosystem, during the Term
                   and for a period of one year following the termination of the
                   Employment Agreement.

 Right of First    If the Employment Agreement is terminated by the Company for
 Refusal           Cause, during the 90 day period immediately following the date of
                   such termination of employment, Auditchain shall have the
                   exclusive right to purchase Executive’s equity interest in Auditchain.
                   If such event occurs, Auditchain shall repurchase Executive’s
                   interest immediately for cash at a price equal to the per share Fair
                   Market Value.

                   “Fair Market Value” shall mean the product of (x) two (2) multiplied
                   by (y)(A) NTBV minus (B) the value of the unallocated and unsold
                   tokens made by the Company in the TGE. For this purpose, “NTBV”
                   shall mean the total assets (exclusive of goodwill and similar
                   intangible assets) minus total liabilities, as determined consistent
                   with General Accepted Accounting Principles (GAAP). The
                   Company will provide to Executive its calculation of Fair Market
                   Value. Notwithstanding the foregoing or the methodology for



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                   determining Fair Market Value set forth herein, if Executive believes
                   that the Fair Market Value is greater than the Fair Market Value as
                   determined above, Executive may elect to direct the Company to
                   obtain an appraisal of the Fair Market Value, which appraisal shall
                   be prepared by a qualified independent appraiser, mutually selected
                   by the Company and Executive. If the Company and Executive are
                   unable to agree on such appraiser, they shall each select a qualified
                   independent appraiser, and the two such appraisers shall select a third
                   qualified independent appraiser, which third appraiser shall prepare
                   the determination of Fair Market Value. Such election must be in
                   writing and given to the Company within thirty (30) days after
                   Executive receives the Company’s determination of Fair Market
                   Value. The determination of the appraiser shall be a final and binding
                   determination of Fair Market Value. If such appraiser determines
                   Fair Market Value to be 110% or more of the Fair Market Value
                   determined by the Company, then the Company shall pay the cost of
                   all such appraisers. If such appraiser determines the Fair Market
                   Value to be less than 110% of the Fair Market Value determined by
                   the Company, then Executive shall pay the cost of all such
                   appraisers.

 Confidentiality   As per the Confidentiality Agreement entered into between the
                   Parties on May 26, 2018, except as permitted or required by law, no
                   information regarding this Term Sheet, including without limitation,
                   any matters that are or may be the subject of discussions among the
                   Parties in relation to the existence and the contents of this Term
                   Sheet, shall be disclosed or made public by either Party without the
                   prior written consent of the other Party, except that it may be shared
                   with attorneys of the Parties who shall also keep all such matters
                   confidential. The confidentiality commitment of the Parties shall
                   survive the termination of negotiations among them.

 Indemnification   If Executive is made or threatened to be made a party to or a
 and Insurance     participant in any actual, threatened, pending, or completed action,
                   claim, or proceeding of any type, the Company shall indemnify,
                   defend, and hold Executive harmless to the maximum extent
                   authorized or permitted by applicable law and by the Company’s
                   Stockholders Agreement, Certificate of Incorporation, By-Laws, and
                   all other organizational documents of the Company, as the foregoing
                   may be amended from time to time to increase or enhance
                   Executive’s right(s) to indemnification. Executive’s right to
                   indemnification shall include any and all expenses (including
                   advancement and payment of attorneys’ fees) and losses arising out
                   of or relating to any of Executive’s actual or alleged acts, omissions,
                   negligence or active or passive wrongdoing, including, the
                   advancement of expenses Executive incurs. In all events, without
                   limiting the foregoing, the Company shall provide Executive with



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                   indemnification on terms no less favorable than provided to any
                   other executive officer or director of the Company. Such
                   indemnification shall continue even if Executive has ceased to be a
                   director, officer, equityholder, or employee of the Company and
                   shall inure to the benefit of Executive’s heirs, executors and
                   administrators. Further, in the event Executive prevails on any
                   material issue in connection with any controversy, dispute or claim
                   which arises out of or relates to this Term Sheet, any other agreement
                   or arrangement between Executive and the Company, Executive’s
                   employment with the Company, or the termination thereof, then the
                   Company shall reimburse Executive (and Executive’s beneficiaries)
                   for any and all costs and expenses (including attorneys’ fees)
                   incurred by Executive (or any of Executive’s beneficiaries) in
                   connection with such controversy, dispute or claim.

                   In addition, during Executive’s employment with the Company and
                   while potential liability exists (but in no event less than six years
                   thereafter), the Company or any successor to the Company shall
                   maintain, at its own expense, (i) directors’ and officers’ liability
                   insurance, (ii) errors and omissions liability insurance, and (iii) such
                   other insurance that a company operating in the Company’s industry
                   should maintain, including a company engaging in a TGE
                   (collectively, the “Applicable Insurance Coverage”), in each case,
                   providing coverage to Executive on terms that are no less favorable
                   than the coverage provided to other directors and officers of
                   Company (but in no event less than a reasonable amount of
                   coverage). The Company shall procure the Applicable Insurance
                   Coverage as soon as reasonably practicable following the date
                   hereof, but in no event later than by August 31, 2018. The
                   Executive’s rights under this section shall survive the termination of
                   this Term Sheet and the termination of Executive’s employment and
                   service with the Company. From time to time, as requested by
                   Executive, the Company shall provide evidence that all insurance
                   coverage or extended reporting endorsements, as required herein, are
                   in effect.

                   If the Company fails to obtain or maintain the Applicable Insurance
                   Coverage as provided above (whether during Executive’s
                   employment or thereafter), Executive may, in his sole discretion,
                   unilaterally obtain all or any portion of the Applicable Insurance
                   Coverage (which may include retroactive coverage dates) and the
                   Company shall immediately reimburse Executive on an after-tax
                   basis for all costs of obtaining and maintaining such coverage. Such
                   remedy(ies) shall not be exclusive.

 Governing Law     The Laws of the United States and the State of New York shall
                   govern this Term Sheet.



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 Miscellaneous     No provision of this Term Sheet may be modified, waived or
                   discharged unless such waiver, modification or discharge is agreed
                   to in writing and signed by Executive and such officer or director as
                   may be designated by the Board. No waiver by either party hereto
                   at any time of any breach by the other party hereto of, or compliance
                   with, any condition or provision of this Term Sheet to be performed
                   by such other party shall be deemed a waiver of similar or dissimilar
                   provisions or conditions at the same or at any prior or subsequent
                   time. Whenever in this Term Sheet the words “including” or
                   “include” is used, it shall be deemed to be for purposes of
                   identifying only one or more of the possible alternatives, and the
                   entire provision in which such word appears shall be read as if the
                   phrase “including without limitation” were actually used in the text.
                   No party may assign or delegate any rights or obligations hereunder
                   without first obtaining the written consent of the other party hereto.
                   The intent of the parties is that payments and benefits under this
                   Term Sheet comply with Internal Revenue Code Section 409A and
                   the regulations and guidance promulgated thereunder and,
                   accordingly, to the maximum extent permitted, this Term Sheet shall
                   be interpreted to be in compliance therewith.
                   This Term Sheet may be executed in separate counterparts, each of
                   which shall be deemed an original, but all of which taken together
                   shall constitute one and the same instrument.

                   AGREED TO AND ACCEPTED BY:


                   _________________________
                   Chris Danusiar

                            17 August 2018
                   Date :____________________



                   __________________________
                   Auditchain USA, Inc.

                   Jason Meyers,
                   Chief Executive Officer

                   Date: ____________________




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